 Case 2:14-cv-14900-AC-RSW ECF No. 11, PageID.40 Filed 03/17/15 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


Denise Nitti                              Case No. 2:14-cv-14900-AC-RSW

      Plaintiff,                          Judge: Avern Cohn

v.                                        Magistrate Judge: R. Steven Whalen

Asset Acceptance, LLC
                                              NOTICE OF SETTLEMENT
      Defendant.


      Now comes Plaintiff, through counsel, to notify the Court that the parties

have reached a settlement. The parties are currently working on facilitating the

settlement. Plaintiff expects to dismiss this case within sixty days.



                                       RESPECTFULLY SUBMITTED,


                                       By: s/ David M. Menditto____
                                         David M. Menditto
                                         Attorney for Plaintiff
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                                          1
 Case 2:14-cv-14900-AC-RSW ECF No. 11, PageID.41 Filed 03/17/15 Page 2 of 2




                         CERTIFICATE OF SERVICE

      I hereby certify that on March 17, 2015, I electronically filed the foregoing

Notice. Service of this filing will be made by the Court’s CM/ECF System upon

the following:


Theodore W. Seitz
Dykema Gossett, PLLC
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Counsel for:
Asset Acceptance, LLC



                                                        s/ David M. Menditto




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